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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



                                            Master File No. 17-8373 (RBK/AMD)

 In re NAVIENT CORPORATION                  PLAINTIFFS’ NOTICE OF
 SECURITIES LITIGATION                      MOTION FOR FINAL APPROVAL
                                            OF SETTLEMENT

                                            CLASS ACTION

                                            Motion Day: April 12, 2022




       PLEASE TAKE NOTICE that under Rule 23 of the Federal Rule of Civil
 Procedure, on April 12, 2022 at 3:00 p.m., in Courtroom 4D of this Court located at
 4th & Cooper Street, Camden, New Jersey 08101, Plaintiff will move for an Order
 granting an award of attorneys’ fees, reimbursement of expenses, and an award to
 Lead Plaintiff Jesse Wayne Pritchard.
       This motion is based upon this notice of motion and brief, declarations, and
 exhibits filed in support hereof.
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       Plaintiff also submits a proposed order granting the motion.

 Dated: March 8, 2022                  LEVI & KORSINSKY, LLP


                                       s/ Adam M. Apton
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